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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiff,
                                                           4:23-CR-3039
vs.
                                               FINAL ORDER OF FORFEITURE
TARRA ARCOS and GLENDA
AGUILAR,

                     Defendants.


      This matter is before the Court on the plaintiff's Motion for Final Order
of Forfeiture (filing 112). On November 8, 2023, the Court entered a
Preliminary Order of Forfeiture (filing 84) pursuant to 21 U.S.C. § 853, based
on Tarra Arcos' and Glenda Aguilar's pleas of guilty to possessing
methamphetamine with intent to distribute it, in violation of 21 U.S.C. § 841
and § 846, and the defendants' admissions of the forfeiture allegation brought
against them. By way of the preliminary order of forfeiture, the defendants'
interest in $66,308 in United States currency was forfeited to the United
States. Filing 84.
      As directed by the order, a Notice of Criminal Forfeiture was posted
beginning on November 9, 2023, on an official Internet government forfeiture
site, www.forfeiture.gov, for at least 30 consecutive days, as required by Supp.
Admiralty and Maritime Claims R. G(4)(a)(iii)(B). A Declaration of Publication
(filing 109) was filed on February 5, 2024. The Court has been advised by the
plaintiff that no petitions have been filed, and from a review of the Court file,
the Court finds no petitions have been filed.
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     IT IS ORDERED:


     1.    The plaintiff=s Motion for Final Order of Forfeiture (filing
           112) is granted.


     2.    All right, title, and interest in and to the $66,308 in United
           States currency held by any person or entity are forever
           barred and foreclosed.


     3.    The property is forfeited to the plaintiff.


     4.    The plaintiff is directed to dispose of the property in
           accordance with law.


     Dated this 5th day of February, 2024.

                                           BY THE COURT:



                                           John M. Gerrard
                                           Senior United States District Judge




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